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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

                                                 MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,
  AND IRBESARTAN PRODUCTS                        Honorable Robert B. Kugler,
  LIABILITY LITIGATION                           District Court Judge


  This Document Relates to All Actions


       NOTICE OF DEFENDANTS’ MOTION FOR LEAVE TO FILE
     INSTANTER SURREPLY BRIEFS IN FURTHER OPPOSITION TO
  PLAINTIFFS’ MOTIONS FOR CLASS CERTIFICATION, AND REQUEST
              FOR A CLASS CERTIFICATION HEARING

        PLEASE TAKE NOTICE that on June 21, 2022, or as soon as counsel may

  be heard, the undersigned counsel, on behalf of all Defendants, shall move for the

  entry of an Order granting Defendants’ Motion for Leave to File Instanter Surreply

  Briefs in Further Opposition to Plaintiffs’ Motions for Class Certification, and

  Request for a Class Certification Hearing.

        PLEASE TAKE FURTHER NOTICE that in support of their motion, the

  Defendants shall rely upon the Brief in Support submitted herewith and exhibits

  thereto and any reply submissions made hereafter; and

        PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted

  herewith; and

        PLEASE TAKE FURTHER NOTICE that oral argument is requested.



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  Dated: May 20, 2022              Respectfully Submitted:

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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE

                                                     MDL No. 2875
   IN RE: VALSARTAN, LOSARTAN,
   AND IRBESARTAN PRODUCTS                           Honorable Robert B. Kugler,
   LIABILITY LITIGATION                              District Court Judge


   This Document Relates to All Actions


  BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR LEAVE TO FILE
      INSTANTER SURREPLY BRIEFS IN FURTHER OPPOSITION
     TO PLAINTIFFS’ MOTIONS FOR CLASS CERTIFICATION, AND
          REQUEST FOR A CLASS CERTIFICATION HEARING

          Pursuant to Local Civil Rules 7.1(d)(6) and 78.1(b), Defendants: (1) seek

  leave of the Court to file short, targeted surreply briefs to address new arguments,

  new authorities, and new expert and factual matters raised in Plaintiffs’ reply briefs

  in support of their motions for class certification; and (2) request that the Court set

  Plaintiffs’ Motions for Class Certification for a hearing. Plaintiffs have indicated that

  they oppose this motion.

     A.      Defendants Should Be Granted Leave To File Surreplies.

          Local Civil Rule 7.1(d)(6) requires leave of the Court to file a surreply. In the

  class certification context, surreplies are routinely allowed where, as in this case,

  Plaintiffs have submitted significant new exhibits, new legal argument, and new

  authorities in their reply briefs, and have thereby introduced new issues into the class



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  certification controversy. See, e.g., Laurens v. Volvo Cars USA, LLC, No. 2:18-cv-

  08798-JMV-CLW, 2020 WL 10223641, at *6 & n.9 (D.N.J. Dec. 8, 2020) (granting

  leave to file a surreply where the plaintiffs presented an argument in their reply brief

  in support of class certification that “was not clearly articulated in the motion for

  class certification and was effectively newly raised in the reply brief”); Morgan v.

  Rohr, Inc., No. 3:20-cv-00574-GPC-AHG, 2021 WL 4806472, at *2-3 (S.D. Cal.

  Oct. 14, 2021) (granting leave to file a surreply where plaintiffs submitted new

  “lengthy collections of evidence” and a new trial plan “as part of the reply”);

  Eldridge v. Cardif Life Ins. Co., 266 F.R.D. 173, 175 (N.D. Ohio 2010) (granting

  leave to file a surreply where plaintiff’s class certification reply brief “raise[d] new

  arguments” relating to a newly filed “affidavit and . . . exhibits”).

        The Court should allow Defendants to file narrowly-targeted surreplies

  pursuant to this precedent in order to address the most important new arguments,

  authorities, and evidence submitted by Plaintiffs for the first time in their replies, for

  the following reasons:

        •      Plaintiffs’ Reply in Further Support of Their Motion for Class

               Certification of Consumer Economic Loss Claims (the “Consumer

               Economic Loss Reply”) abandons Plaintiffs’ original Trial Plan, which

               proposed that “a single trial” decide “all of the Classes’ claims” in one

               three-phase proceeding; includes new appendices, trial plans and jury


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             instructions; relies heavily on new authorities and arguments never

             raised in Plaintiffs’ opening brief; proposes a new, unprecedented (and

             still unworkable) three-part standard to determine the viability of

             Plaintiffs’ proposed state law “groupings”; and misstates various state

             laws in attempting to argue that Defendants’ state-law variation

             appendices are erroneous.

        •    With respect to the Wholesaler Defendants, the Consumer Economic

             Loss Reply also misstates the facts with regard to the information

             available to trace putative class members’ VCDs to Wholesalers, relies

             on unsupported arguments raised for the first time on reply, and relies

             on   newly      asserted    misrepresentations,   misstatements,    and

             mischaracterizations as to Dr. Conti’s unjust enrichment damages

             calculation—most of which go far beyond what Dr. Conti herself

             testified to—and misrepresents the applicable caselaw regarding unjust

             enrichment.

        •    The Third-Party Payors’ Reply Brief in Support of Motion for Class

             Certification asserts the new and novel position that this Court may

             certify classes based solely on rulings made at the motion to dismiss

             stage and urges the Court to use Rule 23 in a manner that would abridge,

             enlarge, or modify substantive state law rights in contravention of the


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              Rules Enabling Act.

        •     The Reply Memorandum of Law in Support of the Medical Monitoring

              Plaintiffs’ Motion for Class Certification proposes new state law

              groupings based on whether the states require “present physical injury,”

              “subcellular injury,” or “no injury at all”; abandons Plaintiffs’ prior

              medical monitoring plan as proposed by their expert, Dr. Kaplan, and

              instead—like the Consumer Economic Loss Reply—punts to this Court

              to craft an entirely different remedy after a class is certified; cites

              several heavily-criticized, decades-old authorities in support of

              certifying medical monitoring classes; seeks for the first time to bolster

              Plaintiffs’ defective “Lifetime Cumulative Thresholds” by citing to

              additional general causation experts who were not referenced in

              Plaintiffs’ opening brief; and presents 15 new exhibits in support of the

              foregoing new arguments.

        Defendants submit instanter, as Exhibits 1 through 4 hereto, their proposed

  surreplies, each of which is short, focused, and addresses specific new evidence,

  arguments, and authority.

        B.    The Court Should Set A Hearing On Plaintiffs’ Motions For Class
              Certification.

        Defendants also respectfully request that the Court set Plaintiffs’ Motion for

  Class Certification for a hearing to afford Defendants an opportunity to further


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  present their positions on Plaintiffs’ factual submissions and legal arguments,

  including the new facts and arguments offered by Plaintiffs for the first time on reply.

  Plaintiffs are seeking certification of more than 120 subclasses collectively asserting

  damages alleged to be in the billions of dollars, as well as equitable relief through a

  decades-long monitoring program. The Court has received hundreds of pages of

  briefing and thousands of pages of appendices and exhibits in support of the parties’

  respective positions. Under these circumstances, setting a hearing on class

  certification will enable the parties to present their respective positions to the Court

  in a single proceeding, will afford the Court an opportunity to have the parties

  address specific controversies and questions, and will create a more complete record

  on which the Court may make its class certification determinations. See Byrd v.

  Aaron’s Inc., 784 F.3d 154, 169-70 (3d Cir. 2015) (finding that district court abused

  its discretion by summarily adopting magistrate judge’s report and recommendation

  on class certification, in part because “no oral argument was held on the class-

  certification motion” leaving the Third Circuit to “wonder why the [d]istrict [c]ourt

  determined” an explanation offered in opposition to the report and recommendation

  “was inadequate”).

        Specifically, Defendants propose a one-day oral argument, with each side

  allocated three hours to present its positions on Plaintiffs’ Motions for Class

  Certification.



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        WHEREFORE, for the foregoing reasons, Defendants respectfully request

  that this Court enter the accompanying Proposed Order: (1) granting Defendants

  leave to file the accompanying Surreplies instanter; (2) setting Plaintiffs’ Motions

  for Class Certification for a one-day oral argument; and (3) granting such other and

  further relief as the Court deems necessary or proper.

  Dated: May 20, 2022                    Respectfully Submitted:

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 20, 2022, I electronically filed the foregoing Defendants’

  (Proposed) Surreply in Further Opposition to Plaintiffs’ Motion for Class Certification of Third-

  Party Payor Claims with the Clerk of Court by using the CM/ECF system, which will send a

  notice of electronic filing to all CM/ECF participants.

                                                       /s/ Jessica D. Miller
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